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                     Exhibit
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Cavanagh, Matthew J.

From:                                Ryan Gile <rg@gilelawgroup.com>
Sent:                                Thursday, August 13, 2020 11:50 AM
To:                                  Cavanagh, Matthew J.
Subject:                             [External] Spectrum Laboratories LLC v. Aim High Investment Group, LLC
                                     (AIMHIGH.0022L)



For Settlement Purposes Only
Not Admissible Under FRE 408

Dear Mr. Cavanagh,

Please be advised that this law firm represents Aim High Investment Group, LLC (“Aim High”). This email is
in response to your firm’s letter dated August 7, 2020, written on behalf of your client, Spectrum Laboratories,
LLC (“Spectrum”), alleging patent infringement by Aim High of two of Spectrum’s U.S. patents.

I am just beginning the process of investigating the facts of this matter and reviewing the information
provided in your letter to understand more clearly the facts and circumstances giving rise to the present
dispute.

To that end, your letter references a July 31, 2020 letter from Spectrum’s in-house counsel; however, my
client was not able to provide me with a copy of such correspondence. My client indicated that it never
received such letter (likely because of a recent warehouse move) and that no copy was included in this most
recent correspondence (despite the letter indicating such). Would you please email me a copy of this letter
for further evaluation in connection with your client’s allegations?

In addition, your letter also expressly references evidence that Aim High’s XStream product infringes upon
your client’s patent. Please provide us with such evidence. And if your client has already prepared claim
charts to illustrate the purported infringement, we would also ask for you to turn those over as well.

Finally, out of professional courtesy, I would respectfully request additional time to Friday, August 28,
2020, in order for me to respond to your letters. I appreciate in advance your professional courtesy in this
matter. Giving me this time will allow me to have a better understanding regarding the full scope of your
client’s claims and possibly allow us to bring this matter to a quick and amicable resolution.

Meanwhile, if you have any questions about any of the above, feel free to contact me directly.

Nothing contained in or omitted from this correspondence is or shall be deemed to be either a full statement of
the facts or applicable law, an admission of any fact, or a waiver or limitation of any of my client’s rights or
remedies, equitable or otherwise, all of which are specifically retained and reserved.

Best Regards,

Ryan Gile
Gile Law Group
Intellectual Property • Corporate Transactions • Business Litigation
The Canyons at Summerlin
                                                                  1
                   Case 2:22-cv-00158-GMN-DJA Document 25-3 Filed 07/15/22 Page 3 of 3
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T: (702) 703-7288 Website: www.GileLawGroup.com E-mail: rg@gilelawgroup.com

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